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3    Telephone: (415) 771-6174
     Facsimile: (415) 474-3748
4
     Attorney for Defendant
5    PATRICIA SERRANO

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9                               IN THE UNITED STATES DISTRICT COURT

10                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                         SAN FRANCISCO DIVISION

12                                                 --o0o--

13   UNITED STATES OF AMERICA,
                                                             NO. CR-05-00149-MHP
14                            Plaintiff,
                                                             STIPULATION AND [PROPOSED]
15                                                           TRAVEL ORDER
             vs.
16
     PATRICIA SERRANO, et.al.,
17
                              Defendant.
18                                            /
19
             By stipulation of the parties, IT IS HEREBY ORDERED that Defendant PATRICIA
20
     SERRANO may go on a trip with her fiancé, Miguel Pimentel, and her two children to Las
21
     Vegas, Nevada.
22
             Ms. Serrano is to leave San Francisco around 6:00 am on Thursday, October 5, 2006 and
23
     return to San Francisco around 10:00 pm on Monday, October 9, 2006. She is to drive with her
24
     children in her fiancé’s vehicle. Ms. Serrano is to stay at the WorldMark Las Vegas, 4225
25
     Spencer Street, Las Vegas, Nevada 89119 (tel. # 702-862-8567.) She is to be available on her
26
     cell-phone, which is 415-218-9812.
27
             Neither AUSA David Hall nor Pre-trial Services Officer Anthony Grenados oppose the
28
     TRAVEL ORDER RE DEF. PATRICIA SERRANO
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1    issuance of this order.

2            IT IS SO STIPULATED.

3

4
             DATED: September 26, 2006           ________/s/______________________________
5                                                IAN G. LOVESETH
                                                 Attorney for Defendant Patricia Serrano
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8
             DATED: September 26, 2006           ________/s/_____________________________
9                                                DAVID HALL
                                                 Assistant United States Attorney
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             IT IS SO ORDERED.
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             DATED: October ____, 2006                                              DERED
                                                          UNIT



                                                                      O OR
15                                               HON. MARILYNIT IS SHALL PATEL
                                                 United States District Court Judge




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                                                                                arilyn   H. Pate
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17                                                                      Judge M



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     TRAVEL ORDER RE DEF. PATRICIA SERRANO            2
